Case No. 1:17-cr-00168-CMA      Document 95     filed 03/19/19   USDC Colorado      pg 1
                                        of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Criminal Action No. 1:17-cr-00168-CMA-1

UNITED STATES OF AMERICA,

     Plaintiff,

v.

KAREN LYNN MCCLAFLIN,

     Defendant.


                         ORDER TO SURRENDER IN LIEU OF
                  TRANSPORTATION BY THE UNITED STATES MARSHAL


        IT IS ORDERED that Defendant, KAREN LYNN MCCLAFLIN having been

sentenced in the above-named case to the custody of the Bureau of Prisons, is to

surrender herself by reporting to the Warden, FMC Carsell, J St. Bldg. 3000, Fort

Worth, Texas, on March 26, 2019, by 12:00 Noon, and will travel at her own

expense.

 DATED: March 19, 2019

                                        BY THE COURT:



                                        CHRISTINE M. ARGUELLO
                                        United States District Judge
